                                                                                             FORM 1
                                                                                                                                                                                            Page No:    1
                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                          ASSET CASES

Case No.:                       24-50656                                                                                                                      Trustee Name:                              Julie K. Zurn
Case Name:                      SHOTSTOP BALLISTICS LLC                                                                                                       Date Filed (f) or Converted (c):           05/04/2024 (f)
For the Period Ending:          12/31/2024                                                                                                                    §341(a) Meeting Date:                      06/11/2024
                                                                                                                                                              Claims Bar Date:                           09/19/2024
                                   1                                                  2                                3                                4                         5                                          6

                       Asset Description                                         Petition/                   Estimated Net Value                   Property                  Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                                         Unscheduled                  (Value Determined by                   Abandoned                 Received by               Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                      Value                            Trustee,                  OA =§ 554(a) abandon.            the Estate
                                                                                                           Less Liens, Exemptions,
                                                                                                              and Other Costs)

Ref. #
1        Bank Account Balances                                                      $95,469.01                                Unknown                                              $95,400.70                                              FA
Asset Notes:      Per Schedule B - Key Bank 9207 - $50,418.95; Key Bank 1489 - $40,070.06; Key Bank 0114 - $4,980
                  Petition Date Statements to be provided
2        Accounts Receivable over 90 days                                   $261,546.68                                            $1.00                                                 $0.00                                           $1.00
Asset Notes:      Trustee to be provided with more detail on accounts outstanding
3      Ballistic Board LLC, wholly owned by Shotstop                              Unknown                                          $1.00                                                 $0.00                                             FA
       Ballistics LLC
Asset Notes:      Financial records to be provided to Trustee;
4      Various Patents, Patents Pending and                                       Unknown                                          $1.00                                                 $0.00                                           $1.00
       Trademarks
Asset Notes:      Trustee reviewing information provided by debtor to date; Exploring sale possibilities
5      Tax Refund                                                 (u)                  $0.00                                 $17,881.49                                            $17,881.49                                              FA
6      Premium Refunds                                            (u)                  $0.00                                    $169.90                                                  $0.00                                             FA


TOTALS (Excluding unknown value)                                                                                                                                                                            Gross Value of Remaining Assets
                                                                                 $357,015.69                                 $18,054.39                                           $113,282.19                                        $2.00



Major Activities affecting case closing:
 12/11/2024     evaluating assets/financials; exploring sale value of intellectual property
 12/09/2024     faxed rqst to reissue ck to OH Worker's Comp
 12/06/2024     NSF deposit emailed Bank did you run 2 times and aren't chargeback fees waived?
 06/11/2024     Trustee, with the assistance of counsel, will evaluate value of intellectual property, accounts receivable, liquid assets, Ballistic Board, LLC, and will investigate potential avoidance and
                other causes of actions based on prepetition transfers
 05/23/2024     trustee evaluating case; m/c 6/11/24


Initial Projected Date Of Final Report (TFR):            12/31/2025                             Current Projected Date Of Final Report (TFR):               12/31/2025                /s/ JULIE K. ZURN
                                                                                                                                                                                      JULIE K. ZURN




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                                                             CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       24-50656                                                                             Trustee Name:                        Julie K. Zurn
Case Name:                     SHOTSTOP BALLISTICS LLC                                                              Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:         **-***7416                                                                           Checking Acct #:                     ******0120
Co-Debtor Taxpayer ID #:                                                                                            Account Title:
For Period Beginning:          01/01/2024                                                                           Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             12/31/2024                                                                           Separate bond (if applicable):


     1                2                          3                                                  4                                     5                    6                7

Transaction      Check /                    Paid to/                       Description of Transaction                Uniform           Deposit           Disbursement         Balance
   Date           Ref. #                 Received From                                                              Tran Code            $                    $


05/16/2024           (1)    Debtor                                Closing balance from 3 accounts                    1129-000          $95,400.70                    $0.00       $95,400.70
07/31/2024           (5)    United States Treasury                Refund                                             1224-000          $17,881.49                    $0.00      $113,282.19
07/31/2024                  Pinnacle Bank                         Service Charge                                     2600-000                 $0.00                $138.05      $113,144.14
08/30/2024                  Pinnacle Bank                         Service Charge                                     2600-000                 $0.00                $162.74      $112,981.40
09/30/2024                  Pinnacle Bank                         Service Charge                                     2600-000                 $0.00                $141.22      $112,840.18
10/31/2024                  Pinnacle Bank                         Service Charge                                     2600-000                 $0.00                $141.05      $112,699.13
11/29/2024                  Pinnacle Bank                         Service Charge                                     2600-000                 $0.00                $140.87      $112,558.26
12/02/2024           (6)    Ohio BWC                              Employer Premium Refund - ck came back NSF from    1229-000            $169.90                     $0.00      $112,728.16
                                                                  bank 12/05/24
12/09/2024                  Pinnacle Bank                         Refund of Bank Service Charge                      2600-000                 $0.00                ($15.00)     $112,743.16
12/10/2024           (6)    DEP REVERSE: Ohio BWC                 Employer Premium Refund - ck came back NSF from    1229-000            ($169.90)                   $0.00      $112,573.26
                                                                  bank 12/05/24
12/10/2024                  Pinnicle Bank                         NSF chargeback Fee                                 2600-000                 $0.00                 $15.00      $112,558.26
12/20/2024           5001   Insurance Partners                    Inv 1652932 2024-25                                2300-000                 $0.00                 $46.38      $112,511.88
12/31/2024                  Pinnacle Bank                         Service Charge                                     2600-000                 $0.00                $140.71      $112,371.17




                                                                                                                    SUBTOTALS          $113,282.19                 $911.02
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        24-50656                                                                                               Trustee Name:                         Julie K. Zurn
Case Name:                      SHOTSTOP BALLISTICS LLC                                                                                Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:          **-***7416                                                                                             Checking Acct #:                      ******0120
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:
For Period Beginning:           01/01/2024                                                                                             Blanket bond (per case limit):        $2,000,000.00
For Period Ending:              12/31/2024                                                                                             Separate bond (if applicable):


    1                2                          3                                                         4                                                    5                   6                7

Transaction      Check /                     Paid to/                             Description of Transaction                             Uniform           Deposit           Disbursement         Balance
   Date           Ref. #                  Received From                                                                                 Tran Code            $                    $



                                                                                            TOTALS:                                                         $113,282.19                 $911.02      $112,371.17
                                                                                                Less: Bank transfers/CDs                                          $0.00                   $0.00
                                                                                            Subtotal                                                        $113,282.19                 $911.02
                                                                                                Less: Payments to debtors                                         $0.00                   $0.00
                                                                                            Net                                                             $113,282.19                 $911.02




                     For the period of 01/01/2024 to 12/31/2024                                                       For the entire history of the account between 05/16/2024 to 12/31/2024

                     Total Compensable Receipts:                           $113,282.19                                Total Compensable Receipts:                                $113,282.19
                     Total Non-Compensable Receipts:                             $0.00                                Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                         $113,282.19                                Total Comp/Non Comp Receipts:                              $113,282.19
                     Total Internal/Transfer Receipts:                           $0.00                                Total Internal/Transfer Receipts:                                $0.00


                     Total Compensable Disbursements:                         $911.02                                 Total Compensable Disbursements:                                 $911.02
                     Total Non-Compensable Disbursements:                       $0.00                                 Total Non-Compensable Disbursements:                               $0.00
                     Total Comp/Non Comp Disbursements:                       $911.02                                 Total Comp/Non Comp Disbursements:                               $911.02
                     Total Internal/Transfer Disbursements:                     $0.00                                 Total Internal/Transfer Disbursements:                             $0.00




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Case Name:                      SHOTSTOP BALLISTICS LLC                                                                             Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:           **-***7416                                                                                         Checking Acct #:                     ******0120
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:           01/01/2024                                                                                          Blanket bond (per case limit):       $2,000,000.00
For Period Ending:              12/31/2024                                                                                          Separate bond (if applicable):


    1                2                           3                                                         4                                                5                  6               7

Transaction      Check /                     Paid to/                              Description of Transaction                         Uniform           Deposit          Disbursement        Balance
   Date           Ref. #                  Received From                                                                              Tran Code            $                   $



                                                                                                                                                                                    NET         ACCOUNT
                                                                                            TOTAL - ALL ACCOUNTS                               NET DEPOSITS                    DISBURSE        BALANCES

                                                                                                                                                        $113,282.19                $911.02     $112,371.17




                     For the period of 01/01/2024 to 12/31/2024                                                    For the entire history of the account between 05/16/2024 to 12/31/2024

                     Total Compensable Receipts:                           $113,282.19                             Total Compensable Receipts:                              $113,282.19
                     Total Non-Compensable Receipts:                             $0.00                             Total Non-Compensable Receipts:                                $0.00
                     Total Comp/Non Comp Receipts:                         $113,282.19                             Total Comp/Non Comp Receipts:                            $113,282.19
                     Total Internal/Transfer Receipts:                           $0.00                             Total Internal/Transfer Receipts:                              $0.00


                     Total Compensable Disbursements:                         $911.02                              Total Compensable Disbursements:                                $911.02
                     Total Non-Compensable Disbursements:                       $0.00                              Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                       $911.02                              Total Comp/Non Comp Disbursements:                              $911.02
                     Total Internal/Transfer Disbursements:                     $0.00                              Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                                                     /s/ JULIE K. ZURN
                                                                                                                                                     JULIE K. ZURN




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